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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION

COMMISSION FOR LAWYER DISCIPLINE, §
                                  §
           Plaintiff,             §
                                  §
v.                                §                                     1:20-CV-089-RP
                                  §
BRANDI K. STOKES,                 §
                                  §
           Defendant.             §

                                               ORDER

        Before the Court is the report and recommendation from United States Magistrate Judge

Mark Lane concerning Defendant Brandi K. Stokes’s (“Stokes”) Application to Proceed Without

Prepaying Fees or Costs, (Dkt. 2), and her Motion to Dismiss, (Dkt. 3). (R. & R., Dkt. 5). Pursuant

to 28 U.S.C. § 636(b) and Rule 1(d) of Appendix C of the Local Rules of the United States District

Court for the Western District of Texas, Judge Lane issued his report and recommendation on

January 28, 2020. (Id.). After that, Stokes filed motions to compel voir dire of and disqualify the

undersigned and Judge Lane. (Mot. Compel Voir Dire, Dkt. 7; Mot. Disqualify, Dkt. 8). The Court

transferred the case to Chief Judge Orlando L. Garcia for the purpose of deciding the motion to

disqualify. (Order, Dkt. 17). On March 9, 2020, Chief Judge Garcia issued an order denying Stokes’s

motion and transferring the case back to the undersigned’s docket. (Dkt. 19).

        Under 28 U.S.C. § 636(b), a party may serve and file specific, written objections to a

magistrate judge’s proposed findings and recommendations within fourteen days after being served

with a copy of the report and recommendation and, in doing so, secure de novo review by the

district court. Stokes timely filed objections to the report and recommendation. (Objs., Dkt. 9).




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        Because Stokes timely objected to the report and recommendation, the Court reviews the

report and recommendation de novo. Having done so, the Court overrules Stokes’s objections and

adopts the report and recommendation as its own order.

        Accordingly, IT IS ORDERED that Judge Lane’s report and recommendation, (Dkt. 5), is

ADOPTED.

        IT IS FURTHER ORDERED that the Commission for Lawyer Discipline’s Opposed

Motion to Remand, (Dkt. 12), is GRANTED. Consequently, because this Court does not have

subject-matter jurisdiction over this matter, all other pending motions in this case, (Dkt. 2, 3, 7, 11),

are MOOT.

        IT IS FURTHER ORDERED that this case is REMANDED to the 345th Civil District

Court of Travis County, Texas.

        The Court reminds Stokes that she is BARRED FROM FILING complaints, removing

cases, or otherwise initiating litigation in the Western District of Texas without obtaining prior

approval from a federal district or magistrate judge in the District. Commission for Lawyer Discipline v.

Stokes, No. 1:20-CV-153-RP (W.D. Tex. Filed March 10, 2020) (Order, Dkt. 22, at 3). Stokes may

not file anything further in this case except, if she chooses, a notice of appeal (subject to the limits

imposed by 28 U.S.C. § 1447(c)–(d) and Quackenbush v. Allstate Ins. Co., 517 U.S. 706, 711–12 (1996)).



        SIGNED on June 19, 2020.




                                                 ROBERT PITMAN
                                                 UNITED STATES DISTRICT JUDGE




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